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                                   UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEVADA

Jane Doe                                              )
                                                      )
                                     Plaintiff(s),    )
                                                      )
v.                                                    )   CDVH1R 3:24-cv-00065-MMD-CSD
                                                      )
Lombardo et al                                        )                                     DEFAULT
                                                      )
                                     Defendant(s).    )
                                                      )


        It appearing from the records in the above-entitled action that Summons issued on
the          Original       Complaint                      February 8, 2024
        (Original, Amended, etc)                               (Date Complaint was filed)




has been regularly served upon each of the Defendants hereinafter named; and it

appearing from the affidavit of counsel or Plaintiff and the records herein that each of

said Defendants has failed to plead or otherwise defend in said action as required by said

Summons and provided by the Federal Rules of Civil Procedure,

        Now, therefore, on request of counsel for Plaintiff, the DEFAULT, as aforesaid, of

each of the following Defendants Hacienda Rooming House, Inc. doing business as Bella's
Hacienda Ranch




in the above-entitled action is hereby entered.

DATED:                                                               '(%5$..(03,, CLERK


                                                               By:
                                                                                Deputy Clerk
